      Case 2:17-cr-00229-TOR      ECF No. 347   filed 02/16/18    PageID.767 Page 1 of 2




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 2                                                                            FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON
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 4
                                                                     Feb 16, 2018
                                                                         SEAN F. MCAVOY, CLERK

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 6
 7                        UNITED STATES DISTRICT COURT
 8                      EASTERN DISTRICT OF WASHIGNTON
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10   UNITED STATES OF AMERICA,                      No. 2:17-CR-00229-TOR-18
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12                       Plaintiff,                 ORDER DENYING MOTION FOR
                                                    MODIFICATION
13                       v.
14   DUANE EDWARD GRAY,                                          MOTION DENIED
15                                                                (ECF No. 343)
16                       Defendant.
17         Before the Court is Defendant’s Motion to Modify Release Conditions. ECF
18   No. 343. Specifically, Defendant asks the Court to modify Condition of Release
19   Number 16, which requires, among other things, that he have no contact with
20   felons. ECF No. 275 at 3. Defendant advises that his fiancée is a felon, and they
21   seek to be married upon her upcoming release date.
22         Defendant also asks that Condition of Release Number 14 be modified to
23   permit him to travel to and from Salem, Oregon to visit his daughters without first
24   obtaining approval from the Court. ECF No. 343 at 2.
25         Defendant recites that the United States does not object to the motion.
26   Defendant does not indicate whether his supervising Pretrial Officer has been
27   contacted, or has a position on what would be substantial changes to the conditions
28   of pretrial release. ECF No. 343 at 2.

     ORDER - 1
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 1         Therefore, Defendant’s motion, ECF No. 343, is DENIED with leave to
 2   renew. Defendant is encouraged to discuss this request with his supervising
 3   Pretrial Office before renewing the motion.
 4         IT IS SO ORDERED.
 5         DATED February 16, 2018.
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 7                               _____________________________________
                                           JOHN T. RODGERS
 8                                UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
